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13   Attorneys for Plaintiff
14                       IN THE UNITED STATES DISTRICT COURT
15                             FOR THE DISTRICT OF ARIZONA
16
17   United States of America,                        No. CR-18-422-PHX-SMB

18                         Plaintiff,                 UNITED STATES’ MOTION TO
                                                      EXTEND DEADLINE FOR A
19            v.                                      CONSOLDIATED RESPONSE TO
                                                      DOCS. 662, 665, AND 672. (DOC. 658)
20   Michael Lacey, et al.,
21                         Defendants.
22
23          The United States respectfully moves for a three-day extension of time to file a
24   consolidated response/reply to Docs. 662, 665 and 672, from July 16, 2019 to July 19,
25   2019. Counsel for the United States requires additional time due to case-related travel
26   and the need to obtain a transcript of a previous hearing to complete a response to the
27   above-mentioned filings. A proposed form of Order is attached.
28          Counsel for the United States has conferred with defense counsel for James
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 1   Larkin, Whitney Bernstein (doc. 662 and 671), and defense counsel for Jed Brunst, Ariel
 2   Neuman (doc. 665), who both indicate that they object to the requested extension.
 3   Defense counsel for Michael Lacey, Paul Cambria (doc. 671), does not object to the
 4   three-day extension for the government to file a response.
 5         Excludable delay under 18 U.S.C. § 3161(h) may occur as a result of this motion
 6   or an order based thereon.
 7         Respectfully submitted this 9th day of July, 2019.
 8
                                              MICHAEL BAILEY
 9                                            United States Attorney
                                              District of Arizona
10
                                              s/ Kevin Rapp
11                                            KEVIN M. RAPP
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                                CERTIFICATE OF SERVICE
 1
 2          I hereby certify that on July 9, 2019, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
 6
     s/ Angela Schuetta
 7   Angela Schuetta
     U.S. Attorney’s Office
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